                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            CIVIL NO. 3:08CV487-03-W
                                (3:05CR104-5-W)


KOJI S. STEWART,                    )
      Petitioner,                   )
                                    )
            v.                      )               MEMORANDUM AND
                                    )                   ORDER
UNITED STATES OF AMERICA,           )
      Respondent.                   )
____________________________________)


       THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside or

Correct sentence pursuant to 28 U.S.C. §2255 filed October 27, 2008 (Doc. No. 1.) For the

reasons stated herein, Petitioner’s Motion to Vacate will de denied and dismissed.

                                I. PROCEDURAL HISTORY

       On April 25, 2005, the Petitioner was charged in three counts of a six-count Bill of

Indictment. Count One charged each defendant with conspiracy to possess with intent to

distribute a detectable amount of cocaine and cocaine base in violation of 21 U.S.C. § 846 and

841 (b)(1)(A). Count Two charged Petitioner and others with knowingly and intentionally

possessing with intent to distribute a mixture and substance containing a detectable amount of

cocaine and aiding and abetting in violation of 21 U.S.C. §§ 841(a)(1) and 841 (b)(1)(A) and 18

U.S.C. § 2. Count Three charged Petitioner with using and carrying a firearm in furtherance of a

drug trafficking crime in violation of 18 U.S.C. § 924(c)(1). (Case No. 3:05cr104, Doc. No. 10.)

On July 6, 2005, the Government filed an § 851 Notice providing notice to the Petitioner that the



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   Case 3:05-cr-00104-FDW-SCR             Document 613       Filed 10/31/08      Page 1 of 8
Government was relying on his prior felony drug convictions for sentencing purposes. (Case No.

3:05cr104, Doc. No. 172.) On July 17, 2006, Petitioner entered into a written plea agreement

with the Government wherein he agreed to plead guilty to Count One and Counts Two and Three

would be dismissed at the time of sentencing. (Case No. 3:05cr487, Doc. No. 320.) By the

terms of the Plea Agreement, the parties stipulated that the amount of cocaine that was known to

or reasonably foreseeable by the defendant was at least 50 kilograms but less than 150 kilograms.

With respect to the amount of cocaine base, the parties agreed that the amount that was

reasonably foreseeable by the defendant was at least 1.5 kilograms. (Id. ¶ 7(a).) Petitioner

expressly waived his right to directly appeal his conviction or sentence, or to collaterally attack

those matters on any grounds except ineffective assistance of counsel, prosecutorial misconduct

or “the sentence, but only to the extent defendant contests the sentence on the basis that one or

more findings on guideline issues were inconsistent with the explicit stipulations contained in

any paragraph in the plea agreement filed herein, or on the basis of an unanticipated issue that

arises during the sentencing hearing and which the District Judge finds and certifies to be of such

an unusual nature as to require review by the Fourth Circuit Court of Appeals.” (Id. ¶ 20.)

       On August 1, 2006, Petitioner appeared before Magistrate Judge David Keesler for a Plea

and Rule 11 Hearing. (Case No. 3:05cr104, Doc. No. 331.) At that hearing, the Magistrate

Judge placed Petitioner under oath and then engaged him in a lengthy colloquy to ensure that his

guilty plea was being intelligently and voluntarily tendered. (Id.) After hearing Petitioner’s

answers to each of its questions, and finding that Petitioner’s plea was knowingly and voluntarily

entered and made, the Magistrate Judge accepted his guilty plea. ( Id.)

       On December 10, 2007, the undersigned granted the Government’s motion for departure


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   Case 3:05-cr-00104-FDW-SCR              Document 613         Filed 10/31/08      Page 2 of 8
pursuant to Section 5K1.1 of the Sentencing Guidelines and Title 18 U.S.C. § 3553(e) and

sentenced Petitioner to 188 months imprisonment and 15 years of supervised release. (Case No.

3:05cr104, Doc. No. 539.)

       Petitioner did not file a Notice of Appeal, but instead filed the instant motion on October

27, 2008 in which he claims that his counsel was ineffective and that he received an erroneous

firearm enhancement.

                                         II. ANALYSIS

       A prisoner in federal custody may attack his conviction and sentence on the ground that it

is in violation of the Constitution or United States law, was imposed without jurisdiction,

exceeds the maximum penalty, or is otherwise subject to collateral attack. 28 U.S. C. §2255.

However,

               [i]f it plainly appears from the face of the motion and any annexed exhibits
               and the prior proceedings in the case that the movant is not entitled to
               relief in the district court, the judge shall make an order for its summary
               dismissal and cause the movant to be notified.

Rule 4, Rules Governing Section 2255 Proceedings for the United States District Courts. The

Court, having reviewed the record of proceedings below, enters summary dismissal for the

reasons stated herein.

       A. Gun Enhancement Claim

       Petitioner contends that he received an erroneous 924(c) enhancement at sentencing. He

claims that the firearm found during a search of his mother’s home was erroneously attributed to

him because it was his mother’s home and she admitted ownership of the firearm. Petitioner

objected to the presentence on this basis, however, the Court adopted the probation officers



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   Case 3:05-cr-00104-FDW-SCR             Document 613        Filed 10/31/08      Page 3 of 8
statement that the firearm was located in the garage near scales and plastic bags which were

“tools of the trade.”

       Petitioner’s Plea Agreement specifically sets forth that Petitioner waived his right to

challenge his sentence or conviction in post-conviction motions except for claims of ineffective

assistance of counsel and prosecutorial misconduct. (Plea Agreement ¶ 20.) At his Rule 11

hearing, Petitioner swore under oath that, among other things, he understood that he was waiving

his right to challenge his sentence or conviction in a post-conviction proceeding.1

       The Fourth Circuit repeatedly has approved the knowing and voluntary waiver of a

defendant’s appellate rights.2 Moreover, the Fourth Circuit has recently expanded the general

rule concerning appeal waivers to hold that a defendant may waive in a plea agreement his rights

to collaterally attack his conviction and sentence. United States v. Lemaster, 403 F.3d 216 (4th

Cir. 2005). Because the Petitioner has not alleged or suggested that his Plea Agreement

somehow is invalid, this Court finds that the Agreement’s waiver provision is valid and fully

enforceable, and that it stands as an absolute bar to the Petitioner’s attempts to challenge his

conviction and sentence on the ground that his plea was not voluntarily made and that the



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         In accordance with the law, this Court has placed great weight on the Petitioner’s
representations at his Rule 11 Hearing. See Blackledge v. Allison, 431 U.S. 63, 73-74 (1977)
(representations made by a defendant at a plea hearing, as well as any findings made by the
judge, constitute a formidable barrier in any subsequent collateral proceeding).
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          . See, e.g. United States v. Blick, 408 F.3d 162, 172 (4th Cir. 2005); United States v.
General, 278 F.3d 389, 399-401 (4th Cir. 2002); United States v. Brown, 232 F.3d 399, 402-406
(4th Cir. 2000); United States v. Brock, 211 F.3d 88, 92 n.6 (4th Cir. 2000); United States v.
Marin, 961 F.2d 493, 496 (4th Cir. 1992); United States v. Davis, 954 F.2d 182, 185-86 (4th Cir.
1992); United States v. Wessels, 936 F.2d 165 (4trh Cir. 1991); and United States v. Wiggins,
905 F.2d 51, 52-54 (4th Cir. 1990) (defendant may waive right to appeal, just as he may waive
more fundamental rights such as the right to counsel and the right to a jury trial.)

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    Case 3:05-cr-00104-FDW-SCR             Document 613         Filed 10/31/08      Page 4 of 8
underlying search was unconstitutional.3

       Even if Petitioner had not waived his rights to raise these claims in a collateral review

proceeding, he has procedurally defaulted these claims. Claims that could have been raised on

appeal, but were not, are procedurally defaulted. See Bousley v. United States, 523 U.S. 614,

621-22 (1998) (habeas review is an extraordinary remedy and will not be allowed to do service

for an appeal). Petitioner did not file a direct appeal in the underlying criminal case and the

instant Motion fails to allege that cause and prejudice exists to excuse his procedural default, nor

does he allege that he is actually innocent. Accordingly, his failure to raise this claim on direct

appeal results in a procedural bar to considering the claim now. Id.

       B. Ineffective Assistance of Counsel

       By his motion, Petitioner alleges that he was subjected to ineffective assistance of counsel

in that counsel failed to object to the fraudulent plea agreement that incorporated a term of

supervised release which violated double jeopardy and the separation of powers clause doctrine.

       When alleging a claim of ineffective assistance of counsel, a petitioner must show that

counsel's performance was constitutionally deficient to the extent it fell below an objective

standard of reasonableness, and that he was prejudiced thereby. Strickland v. Washington, 466

U.S. 668, 687-91 (1984). In making this determination, there is a strong presumption that

counsel's conduct was within the wide range of reasonable professional assistance. Id. at 689; see

also Fields v. Attorney Gen’l. of Md., 956 F.2d 1290, 1297-99 (4th Cir. 1992); Hutchins v.


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         The Court acknowledges that Petitioner does attack the validity of his plea agreement
arguing that such agreement is fraudulent because it incorporated a term of supervised release
which violated double jeopardy and the separation of powers doctrine. However, as the
undersigned explained in the section entitled Ineffective Assistance of Counsel, this argument
has no merit.

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   Case 3:05-cr-00104-FDW-SCR              Document 613         Filed 10/31/08      Page 5 of 8
Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983); and Marzullo v. Maryland, 561 F.2d 540 (4th

Cir. 1977).

       To demonstrate prejudice, Petitioner must show a probability that the alleged errors

worked to his "actual and substantial disadvantage, infecting his trial with error of constitutional

dimensions." Murray v. Carrier, 477 U.S. 478, 494 (1986) (quoting Frady, supra). Under these

circumstances, Petitioner “bears the burden of proving Strickland prejudice.” Fields, 956 F.2d at

1297 (citing Hutchins, 724 F.2d at 1430-31). Therefore, if Petitioner fails to meet this burden, a

“reviewing court need not consider the performance prong.” Id. at 1290 (citing Strickland, 466

U.S. at 697).

       A petitioner who alleges ineffective assistance of counsel following the entry of a guilty

plea has an even higher burden to meet. See, Hill v. Lockhart, 474 U.S. at 53-59; Fields, supra at

1294-99; and Hooper v. Garraghty, 845 F.2d 471, 475 (4th Cir. 1988). The Fourth Circuit

described a petitioner’s additional burden in a post-guilty plea claim of ineffective assistance of

counsel as follows:

                When a [petitioner] challenges a conviction entered after a guilty
                plea, [the] “prejudice” prong of the [Strickland] test is slightly
                modified. [The petitioner] “must show that there is a reasonable
                probability that, but for counsel’s errors, he would not have plead-
                ed guilty and would have insisted on going to trial.”


Hooper, supra at 475 (quoting Hill, supra at 59); accord Fields, supra at 1297.

       In evaluating a post-guilty plea claim of ineffective assistance of counsel, statements

previously made under oath affirming satisfaction with counsel, such as those made by Petitioner

here at the Rule 11 hearing, are binding absent “clear and convincing evidence to the contrary.”



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   Case 3:05-cr-00104-FDW-SCR              Document 613         Filed 10/31/08      Page 6 of 8
Fields, at 1299, (citing Blackledge v. Allison, 431 U.S. 63, 74-75 (1977)); accord United States

v. Lemaster, 403 F.3d 216, 220-23 (4th Cir. 2005) (affirming summary dismissal of §2255

motion, including ineffective assistance claim, noting inconsistent statements made during Rule

11 hearing).

       Applying the foregoing principles to Petitioner’s allegations against counsel, it is apparent

that he cannot prevail in this matter. Indeed, it has not escaped the Court’s attention that

Petitioner does not assert that but for counsel’s alleged ineffectiveness, he would have pled not

guilty and insisted upon going to trial. Thus, notwithstanding any other matters, Petitioner’s

claim against counsel is doomed by that failure.

       Petitioner argues that his counsel was ineffective for allowing him to sign a plea

agreement which provides for a term of supervised release. The term of supervised release, he

argues, subjected him to two punishments in violation of the double jeopardy clause and the

separation of powers doctrine.

       Supervised release is specifically authorized by Congress in 18 U.S.C. §3583 and the

United States Sentencing Guidelines § 5D1.1. Indeed, the Court is directed to impose a term of

supervised release to follow a term of imprisonment longer than one year or when required by

statute. Supervised release was designed by Congress as a method of post-incarceration

supervision to replace parole. United States v. Monteneegro-Rojo, 908 F.2d 425 (9th Cir. 1990).

The goal of supervised release is to reintegrate offenders into the community. United States v.

Pierce, 75 F.3d 173 (4th Cir. 1996). Under the supervised release model, a defendant serves a

portion of his or her sentence in prison and a portion under supervision outside prison walls.

United States v. Paskow, 11 F.3d 873 (9th Cir. 1993).


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   Case 3:05-cr-00104-FDW-SCR               Document 613         Filed 10/31/08      Page 7 of 8
       Here, Petitioner pled guilty to Count One of the Indictment, conspiracy to possess with

intent to distribute a mixture and substance containing a detectable amount of cocaine and

cocaine base in violation of 21 U.S.C. §§ 846 and 841 (b)(1)(A). The statutory penalty for a

violation of § 846 is spelled out in § 841 and includes life imprisonment and supervised release.

There is simply no merit to Petitioner’s claim that his term of supervised release violated the

double jeopardy clause or the separation of powers doctrine.

       Petitioner has not satisfied either prong of the Strickland test and therefore his claim of

ineffective assistance of counsel must be denied.

                                           IV. ORDER

       IT IS, THEREFORE, ORDERED that the Petitioner’s motion to vacate, set aside or

correct sentence pursuant 28 U.S.C. §2255 is hereby DENIED.



SO ORDERED.



                                                 Signed: October 30, 2008




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   Case 3:05-cr-00104-FDW-SCR              Document 613        Filed 10/31/08       Page 8 of 8
